                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION

IN RE:
      BLANCA RODRIGUEZ                                      CASE NO: 19-20324
                                                            CHAPTER 13
                      Debtors                               JUDGE: Daniel S. Opperman

___________________________________/


  DEBTOR’S FIRST POST CONFIRMATION CHAPTER 13 PLAN MODIFICATION

       NOW COMES Debtor(s), by and through their Attorney, Robert Shelton, proposes the
following post-confirmation modification to the debtor’s Chapter 13 Plan;

   1. Debtor(s) proposes to maintain their plan payments and plan funding as follows:
      $95.00 monthly.

   2. Debtor(s) proposes that, upon court approval of this plan modification, any plan funding
      delinquency as a result of missed plan payments or failure to pay income tax refunds to
      the Trustee is forgiven.

   3. Debtor, who is and was below the median income at the time of filing, originally
      proposed a 60-month repayment plan. Debtor’s plan has proceeded for 40 months and
      has 20 months remaining. Debtor proposes to shorten her remaining plan to 10 months
      upon confirmation of this modification.

   4. All other terms of the confirmed plan and the May 10, 2019 Order Confirming Plan
      remain the same and are incorporated herein.

   5. Pursuant to LBR 3015-2(b)(1)(C) the impact of the proposed plan modification on each
      class of creditors is as follows:

          1.   Class One:     NONE
          2.   Class Two:     NONE
          3.   Class Three:   NONE
          4.   Class Four:    NONE
          5.   Class Five:    NONE
          6.   Class Six:     NONE
          7.   Class Seven:   NONE
          8.   Class Eight:   NONE
          9.   Class Nine:    The distribution to Class Nine Creditors is estimated to decrease.


Attached hereto are the following as required by LBR 3015-2(b)(1)(B):



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          1. Liquidation Analysis (See attachment one)
          2. Chapter 13 Worksheet (See attachment two)

Dated: September 27, 2022                                Respectfully Submitted,
                                                         ROBERT SHELTON, P.L.C.
                                                         /s/ Robert Shelton
                                                         Robert Shelton (P81288)
                                                         Attorney for Chapter 13 Debtor
                                                         1109 Court St. 2nd Floor
                                                         Saginaw, MI 48602
                                                         (989) 401-4456 Phone
                                                         lawyershelton@gmail.com

                                                         /s/Blanca Rodriguez
                                                         Blanca Rodriguez
                                                         Debtor




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                                                                              ATTACHMENT 1
                        LIQUIDATION ANALYSIS AND STATEMENT OF VALUE OF ENCUMBERED PROPERTY :

                                                                                                  DEBTOR'S
                                                        FAIR MARKET                               SHARE OF       EXEMPT        NON-EXEMPT
           TYPE OF PROPERTY                                VALUE                   LIENS           EQUITY        AMOUNT          AMOUNT

        PERSONAL RESIDENCE


    1833 Joslin St. Saginaw , MI
                                                                   20,000.00               0.00      10,000.00     10,000.00                      0.00
    48602 Saginaw County

        PERSONAL RESIDENCE
                                                                   20,000.00               0.00      10,000.00     10,000.00                      0.00
               (total)

    REAL ESTATE OTHER THAN
                                                                            0.00           0.00           0.00          0.00                      0.00
      PERSONAL RESIDENCE


      HHG/PERSONAL EFFECTS


    Furniture                                                            300.00            0.00        150.00        150.00                       0.00


      HHG/PERSONAL EFFECTS
                                                                         750.00            0.00        600.00        600.00                       0.00
              (total)


                    JEWELRY


    Jewelry                                                              250.00            0.00        250.00        250.00                       0.00



               JEWELRY (total)                                           250.00            0.00        250.00        250.00                       0.00



        CASH/BANK ACCO UNTS                                               10.00            0.00           7.50          7.50                      0.00



                   VEHICLES

    2002 Ford Explorer 215000 miles
    Location: 1118 Cass St.,
                                                                        1,500.00           0.00       1,500.00      1,500.00                      0.00
    Saginaw MI 48602
    Vehicle is nonfunctional.

              VEHICLES (total)                                          1,500.00           0.00       1,500.00      1,500.00                      0.00



               OTHER (itemize)


    Rent: Miguel Munoz                                                   400.00            0.00        200.00        200.00                       0.00


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    American General Life
    Annuity - Life Contingent -
                                                                        5,000.00       0.00   5,000.00   5,000.00                      0.00
    Beginning 01/15/2041
    Current Estimated Value $5000

                 OTHER (total)                                          5,400.00       0.00   5,200.00   5,200.00                      0.00




                             Amount available upon liquidation                                           $                           0.00

                             Less administrative expenses and costs                                      $                           0.00

                             Less priority claims                                                        $                           0.00

                             Amount Available in Chapter 7                                               $                           0.00




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                                                                              ATTACHMENT 2

                                                               CHAPTER 13 MODEL WORKSHEET
                                                           LOCAL BANKRUPTCY RULE 3015-1(B)(2) E.D.M
    1.          Proposed length of Plan:                                    10        months

    2.          Initial Plan Payment:
               $95.00 per month x 10 months = $950.00 (subtotal)

                Additional
    3.          Payments:                  $                        per=$(subtotal)

    4.          Lump sums payments                                                                                                 $0.00

    5.          Total to be paid into Plan (total of lines 2 through 4)                                                         $950.00

    6.          Estimated disbursements other than to Class 9 General Unsecured Creditors

                a. Estimated Trustee Fees                                                       $84.55

                b. Estimated Attorney Fees and cost s through
                   confirmation of plan                                                          $0.00

                c. Estimated Attorney Fees and costs post-co nfirmation
                   through duration of Plan                                                    $400.00

                d. Estimated fees of other Professionals                                         $0.00

                e. Total mortgage and other continuing se cured debt
                   payments                                                                      $0.00

                f. Total non-continuing secured debt payments
                   (including interest)                                                          $0.00

                g. Total priority claims                                                         $0.00

                h. Total arrearage claims                                                        $0.00
                Total disbursements other than to Class 9 General Unsecured Creditors
    7.          (Total of lines 6.a through 6.h)                                                                $                 484.55

                Funds estimated to be available for Class 9 General Unsecured Creditors
    8.          (Line 5 minus Line 7)                                                                       $                     465.55

                Estimated dividend to Class 9 General Unsecured Creditors in Chapter 7 proceedin g
    9.          (see Liquidation Analysis on page 6)                                                        $                        0.00



   COMMENTS:




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                                                              CHAPTER 13
                  Debtors                                     JUDGE: Daniel S. Opperman
_________________________________/



           Notice of Deadline to Object to Proposed Chapter 13 Plan Modification

       The deadline to file an objection to the attached proposed chapter 13 plan modification is
21 days after service.

        If no timely responses are filed to a proposed post-confirmation plan modification, the
proponent may file a certificate of no response and request entry of an order approving the plan
modification.
        If a timely objection is filed, the Court will set the matter for hearing and give notice of
the hearing to the debtor, the proponent of the plan modification, the trustee and any objecting
parties. In that event, the plan modification will become effective when the Court enters an order
overruling or resolving all objections.
        Objections to the attached proposed chapter 13 plan modification shall be served on the
following:

       Robert Shelton, Attorney for Debtor, 1109 Court St. 2nd Floor, Saginaw, MI
       48602

       Thomas W. McDonald, Jr., Chapter 13 Trustee, 3144 Davenport Avenue,
       Saginaw, MI 48602


Date: September 27, 2022                                      Respectfully Submitted,
                                                              ROBERT SHELTON, P.L.C.
                                                              /s/ Robert Shelton
                                                              Robert Shelton (P81288)
                                                              Attorney for Chapter 13 Debtor
                                                              1109 Court St. 2nd Floor
                                                              Saginaw, MI 48602
                                                              (989) 401-4456 Phone
                                                              lawyershelton@gmail.com




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                                                             CHAPTER 13
                       Debtors                               JUDGE: Daniel S. Opperman


            Debtor(s)
_________________________/

     (PROPOSED) ORDER APPROVING CHAPTER 13 FIRST MODIFIED POST-
                  CONFIRMATION PLAN MODIFICATION


The Chapter 13 debtor herein having filed a Notice seeking approval of their Chapter 13 Post-
Confirmation First Modified Plan and a copy of the Chapter 13 Post-Confirmation First
Modified Plan and Notice having been mailed out to all creditors and interested parties as
appears from the Proof of Service filed with the Court and all objections having been resolved to
the proposed plan modification and the Court finding that each of the requirements for approval
of the Post-Confirmation Chapter 13 Plan Modification pursuant to 11 U.S.C. §1325(a) and
§1329 have been met and the Court being otherwise fully advised in the premises;

       IT IS HEREBY ORDERED that the debtor’s Chapter 13 Post-Confirmation First
Modified Plan filed with the Court on September 27, 2022 shall be and hereby is approved by the
Court.

        IT IS FURTHER ORDERED that in Class V of the Plan, the term “crammed” refers
to the bifurcation of a claim pursuant to the claim pursuant to 11 U.S.C. section 506 and is not
applicable to 910 vehicle claims; and the term “modified” refers to a change in the interest rate or
other terms not relating to collateral value, and the secured creditor will be paid equal monthly
payments pursuant to the amount as recited in the claim.




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___________________________________/



                                 CERTIFICATE OF SERVICE

       I, Robert Shelton, being duly sworn, says:

       I am a legally competent adult and not a party or an officer of a corporate party in the
above-titled action.

        I provided service of the Debtor’s FIRST POST-CONFIRMATION PLAN
MODIFICATION, PROPOSED ORDER, and NOTICE to the Chapter 13 Trustee and all
interested parties as set forth in the matrix via ECF or first-class mail.

Date: September 27, 2022                                     Respectfully Submitted,
                                                             ROBERT SHELTON, P.L.C.
                                                             /s/ Robert Shelton
                                                             Robert Shelton (P81288)
                                                             Attorney for Chapter 13 Debtor
                                                             1109 Court St. 2nd Floor
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